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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                 MDL No. 16–2738 (MAS) (RLS)
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION                                      Oral Argument
                                                Requested




 DEFENDANT JOHNSON & JOHNSON’S SUR-REPLY IN OPPOSITION
     TO PLAINTIFFS’ STEERING COMMITTEE’S MOTION FOR
   PROTECTIVE ORDER REGARDING SUBPOENA DIRECTED AT
                 NORTHWELL HEALTH, INC.

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      Without first seeking permission as required by Local Rule 37.1(b)(3), the

Plaintiffs’ Steering Committee (“PSC”) filed a reply brief that raised a number of

new issues for the first time, necessitating a response. Defendant Johnson & Johnson

(“J&J”) therefore submits this sur-reply in opposition to the PSC’s Motion For

Protective Order Regarding Subpoena Directed At Northwell Health, Inc.

(“Northwell”).

                                  INTRODUCTION
      In its Reply, the PSC mocks J&J for “excruciatingly” describing the

underpinnings of Dr. Moline’s Articles and for attaching “more than 1,000 pages of

exhibits” to its Opposition brief. Reply 1. The PSC must resort to criticizing the

volume of the evidence because it cannot and does not dispute what the evidence

shows: that J&J has very good reason to believe that the Articles are based on a false

premise. Similarly, nowhere in its blustering Reply does the PSC invoke the usual

arguments that J&J’s views about the Articles’ falsity are “speculation” or that J&J

is simply on a “fishing expedition.” Perhaps that is because it can’t. The Articles are

not legitimate science; they are a litigation tactic.

      In reality, the PSC wants to be able to exploit this same litigation tactic for

itself. Not surprisingly, the PSC steadfastly has refused to commit that it will not use

the Articles during trial. Instead, it provides self-serving assurances that it is

“unlikely” that the Articles will come up during future trials. They don’t say that



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they will not rely on any papers that review or touch on mesothelioma—because in

fact their expert reliance lists are peppered with such papers. And, most importantly

here, the PSC has put forth multiple experts who rely on the Moline Articles. On that

basis alone J&J should be permitted to arm itself with the truth about the Articles so

it can adequately cross examine these witnesses and allow a jury to understand the

Articles—and any opinions premised on them—for what they really are. The need

for discovery into the likely false underpinnings of the Articles is only exacerbated

when the PSC continues to play coy about its intended use of the Articles.

      In order to distract from this obvious conclusion, the PSC focuses its Reply

on the contention that “defendants in mesothelioma cases throughout the country

have repeatedly attempted to obtain the same information and failed.” Reply 2. But

it cites almost exclusively to rulings on the scope of permissible cross-examination,

not discovery requests—and in cases where J&J was not even a party.

      As to the actual discovery order that the PSC focuses on (from the Gref case),

the PSC notably does not describe what in fact occurred in the matter. It is simply

not true that Northwell “already fought and won this same battle” in Gref. See Reply

10. To the contrary, the plaintiff in Gref mooted the issue by committing not to rely

on the Articles, something the PSC refuses to do here. That was the sole basis for

the court’s ruling.




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      Similarly, while attempting to claim J&J’s own expert Dr. Diette supports the

PSC’s position, the PSC ignores that Dr. Diette has expressly testified that he does

not believe the identities of the individuals that form the basis of the Articles are

confidential since they were already made public: “[M]y opinion as a researcher [is]

that there is no longer any confidentiality to protect, at least for the topic of what’s

in that paper.” Ex. 35, Diette Pichierri Dep. 63:12-70:5.

      Finally, no privacy interest or burden is at stake. The PSC never disputes that

all the individuals in the Articles already made their mesothelioma diagnoses and

related medical histories public. And in its Reply, the PSC does not even attempt to

support its argument that producing two short documents would be burdensome.

      This Court should deny the PSC’s motion.

                                    ARGUMENT
I.    The PSC’s Motion Fails Because Its Own Interests Are Not
      Jeopardized.
      The PSC does not contend that any of its own interests are implicated by the

subpoena. Instead, it makes a purely legal argument that it can move for a protective

order even if has absolutely no interest in the outcome.

      The PSC conflates two separate requirements. Just because a party has Rule

26(c) standing (because Rule 26(c) expressly mentions a “party” filing a motion,

unlike Rule 45), that does not relieve the party from the separate requirement that it

must show that its own interests are jeopardized. The PSC responds to this legal


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truism by citing to cases that stand for the simple proposition that a party has

standing under Rule 26(c) to contest relevance. But, again, such cases say nothing

about the separate requirement that the moving party’s own interests must also be

jeopardized.

      J&J provided numerous examples of cases from across the country—in

addition to Wright & Miller—stating that a party must, at minimum, show it has

some interest that would be jeopardized by the disclosure of information at issue in

order to move for a protective order. By contrast, the PSC cites to cases where the

court never addressed the issue one way or another, and thus its cases have no

bearing on the question. See Arkliss v. Nissan Extended Servs. N. Am., Inc., 2018

WL 10502135, at *4 (D.N.J. Aug. 16, 2018) (stating cases are “not persuasive” that

“did not address the argument” at issue). The PSC does not cite a single case granting

a protective order and expressly holding that the party need not have shown that its

own interest would be jeopardized in some way by the disclosure.

      Indeed, the issue of whose interests were at stake may never have arisen in

those cases because the moving parties’ interests were at stake. For example, in

Government Employees Insurance Co v. Koppel, the “Koppel Defendants” sought

to block a subpoena for “all criminal and investigative records from the OIFP’s

Medicaid Fraud Control Unit concerning the Koppel Defendants.” 2023 WL

5526809, at *1 (D.N.J. Aug. 28, 2023) (emphasis added). In Lilac Development



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Group v. Hess Corporation, the defendant Hess Corporation similarly “stress[ed]

the sensitive nature of the information Hess was providing” to the third party that

was sought by the third-party subpoena. 2016 WL 3457012, at *3 (D.N.J. June 20,

2016) (emphasis added).

      In fact, the PSC largely relies on cases where a motion for a protective order

was denied. See Koppel, 2023 WL 5526809, at *4 (“[T]he Koppel Defendants’

alternative request for a protective order is DENIED.”); Lilac Dev. Grp., 2016 WL

3457012, at *3 (“Defendant Hess Corporation and Speedway, LLC's motion for a

protective order is DENIED.”); Aetrex Worldwide, Inc. v. Burten Distribution, Inc.,

2014 WL 7073466, at *6 (D.N.J. Dec. 15, 2014) (“Defendant's motion for a

protective order and to quash the subpoenas is hereby DENIED.”); Rudelli v. Eli

Lilly & Co., 2020 WL 13694732, at *3 (D.N.J. Nov. 13, 2020) (“To the extent

Defendant intended to move for a protective order, such request is denied.”);

Contour Data Sols. LLC v. Gridforce Energy Mgmt., LLC, 2022 WL 3907530, at *3

(E.D. Pa. July 25, 2022) (“Plaintiff’s Motion is DENIED.”).

      Finally, even if the PSC was correct that it may assert lack of relevance

without its own interest being jeopardized, that does not give the PSC the ability to

raise the burden or privacy interests of others—two issues that made up the bulk of

the PSC’s initial motion. The PSC’s own case makes that clear. See Lilac Dev. Grp.,

2016 WL 3457012, at *2 (“But Defendants do not have standing to move for a



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protective order for a third-party based on the burden that subpoena will place on the

third-party.”).

      This Court should deny the PSC’s motion for a protective order where it has

not claimed that it has any interest in the outcome.

II.   The Information Sought Is Relevant.
      While it attempts to shield itself from its lack of any interest by pointing to

relevance, ironically, the PSC barely contends that the information at issue is not

relevant. It does not dispute that the standard for relevance in the context of

discovery is even more liberal than Rule 401 in the context of a trial. Nor does the

PSC dispute that Dr. Moline’s Articles could be used to support its contention that

J&J’s talc products were contaminated with asbestos.

      Lastly, the PSC has not committed that it will not use or refer to Dr. Moline’s

Articles during trial. Rather, the PSC’s response on this question amounts to: Trust

us, the Articles won’t come up. The PSC’s refusal to make a commitment to refrain

from discussing the Articles demonstrates both the Articles’ relevance and should

be dispositive. If the Articles may arise during trial, J&J has the right to the

underlying information to be able to defend itself and demonstrate that those Articles

are based on a false premise.




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III.   No Privacy Interest Is At Stake.
       The PSC similarly offers little-to-no support for the idea that any privacy

interests are in play. The PSC does not contend that any law prohibits disclosure of

the two documents at issue or the information contained therein. And critically, the

PSC does not respond at all to the point that the individuals in the Articles already

made public that they developed mesothelioma (and their related medical histories)

since they were all plaintiffs in litigation.

       Take for example the plaintiffs discussed in J&J’s opposition brief that appear

to match individuals in the Articles. Each filed a public complaint making their

mesothelioma diagnosis public:

       • Kohr Complaint
         “These exposures to asbestos proximately caused HELENE KOHR to
         develop mesothelioma.”

       • Lanzo Complaint
         “Plaintiff, Stephen Lanzo, III, contracted mesothelioma.”

       • Jackson Complaint
         “Plaintiff Doris Jackson was diagnosed with mesothelioma in November
         2014.”

       • Dalis Complaint
         “Plaintiff Valerie Jo Dalis contracted mesothelioma.”

       • Rimondi Complaint
         “RICARDO RIMONDI was diagnosed with malignant mesothelioma on
         or about 27 September 2016.”
Ex. 36, Kohr Compl. ¶ 5; Ex. 37, Lanzo Compl. ¶ 3. Ex. 38, Jackson Compl. ¶ 3;

Ex. 39, Dalis Compl. ¶ 2; Ex. 40, Rimondi Compl. ¶ 1.


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      Rather than taking the lack of privacy interests head on, the PSC cites a

number of irrelevant rulings and depositions.

      Gref. The PSC first points to the Gref case where J&J was not even a party.

But the PSC’s contention that “Northwell already fought and won this same battle”

in Gref is simply not true. See Reply 10.

      In that matter, the plaintiff withdrew all reliance on Dr. Moline’s Articles—

something the PSC has refused to do here. The Gref plaintiff wrote: “Plaintiff

withdraws his experts’ reliance on the Moline Article in this matter.” Ex. 41, Gref

Letter Brief (Gref ECF 337). The plaintiff further contended that “[s]ince Plaintiff is

withdrawing reliance on the article, there can be no argument that the identity of the

subjects of the Moline Article are relevant in Mr. Gref’s lawsuit.” Id.

      The Gref order the PSC attached gave no rationale but instead referred to the

reasoning given at a May 19, 2023 hearing, attaching no transcripts. See Reply at 10;

Reply Ex. C. The bench ruling at the hearing makes clear that the magistrate judge

relied exclusively on the fact that the plaintiff withdrew all reliance on the 2020

Article for reaching her conclusion: “I’m not going to give you a written decision

because it’s pretty clear, given [plaintiff’s counsel] Mr. Kramer’s statements on the

record, that they’re not at all using or relying on Dr. Moline’s 2020 article, that there

just isn’t a basis to conclude that the article is relevant.” Ex. 42, Gref May 19, 2023

Hr’g Tr. 12:14-24.



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      A case where the plaintiff has withdrawn all reliance on Dr. Moline’s Articles

says nothing about J&J’s arguments here, which continue to go unrebutted.1

      Lashley Trial Ruling. The PSC also provides lengthy quotations of a mid-

trial ruling in Lashley regarding the appropriate scope of cross examination of Dr.

Moline. Again, such a ruling has no bearing on J&J’s entitlement to discovery here.

That case did not even involve J&J and the PSC does not explain what arguments

were or were not presented to the judge. What’s more, and critically, that trial

occurred in 2020 shortly after the Dr. Moline’s original Article first became

available—well before the Bell ruling and other new information came to light

revealing that the premise of the 2020 Article likely is not true.

      Plaintiffs’ reference to other mid-trial rulings regarding the scope of cross

examination of Dr. Moline are similarly not relevant to the discovery question at

issue here. See Reply at 11. And even if these sorts of rulings were relevant, courts

have prohibited plaintiffs from relying on Dr. Moline’s Articles because defendants

“have been obstructed from meaningfully cross-examining Dr. Moline and obtaining


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  The PSC also quotes Northwell’s arguments regarding HIPAA from Gref, perhaps
in an attempt to avoid the fact it never actually addressed HIPAA in its motion and
also in order to raise the specter of HIPAA without developing any genuine argument
on the topic. Again, the individuals referred to in the Articles are not Dr. Moline or
Northwell’s patients, which is why the plaintiffs in Bell (where a highly redacted
version of one of the two documents sought was produced) conceded the information
was not HIPAA-protected. In any event, even material that is actually covered by
HIPAA may be disclosed “[i]n response to an order of a court.” 45 C.F.R.
§ 164.512(e)(1)(i).

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discovery that might challenging the finding and conclusions of the Article.” Ex. 43,

Smith Order. Another court adopting that same ruling stated that “there is a serious

question as to whether the studies are based upon reliable and rigorous scientific

methods.” Ex. 44, Thomas Order.

      New Case Law. In two perfunctory parentheticals, the PSC cites new case law

for the first time in its Reply. See Reply 9. These out-of-circuit cases from over 35

years ago have no bearing on the issue this Court confronts.

       In Farnsworth, the information sought was “of a highly personal nature”

including “sexual practices, contraceptive methods, pregnancy histories, menstrual

activity, tampon usage, and douching habits.” Farnsworth v. Procter & Gamble Co.,

758 F.2d 1545, 1546 (11th Cir. 1985). The study participants were not all plaintiffs

who already publicly revealed their medical condition—as with the Articles here.

And there was no evidence in that case that the underlying facts reported in the study

were simply false, which is precisely the situation here. Lampshire was an earlier

ruling involving the same study and suffers from the same flaws. Lampshire v.

Procter & Gamble Co., 94 F.R.D. 58, 60 (N.D. Ga. 1982). 2


2
  The cases the PSC cites in a footnote are even less relevant. Reply 9 n.13. Doe did
not involve a study at all, but a request to identify “the HIV positive donor whose
blood was transfused into Jane Doe during an operation on January 9, 1985.” Doe v.
Am. Red Cross Blood Servs., S.C. Region, 125 F.R.D. 646, 647 (D.S.C. 1989). In
Braintree, the relevant documents were produced, and the only question is whether
information would be filed under seal—a completely different inquiry. Braintree
Lab’ys, Inc. v. Novel Lab'ys, Inc., 2013 WL 12170639, at *1 (D.N.J. Apr. 3, 2013).

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      Dr. Diette Testimony. Finally, the PSC misleadingly quotes an excerpt of a

deposition transcript of Dr. Diette without providing his full views on the topic. Dr.

Diette expressly testified that he does not believe the subjects of Dr. Moline’s article

have confidentiality: “[M]y opinion as a researcher [is] that there is no longer any

confidentiality to protect, at least for the topic of what’s in that paper.” Ex. 35, Diette

Pichierri Dep. 63:12-70:5.

IV.   The Subpoena Is Not Unduly Burdensome.
      While the PSC originally argued that the subpoena would represent an undue

burden on Northwell, it does not contest in its Reply that seeking production of only

two documents is a burden at all. For this reason as well, which the PSC now appears

to concede, its motion should be denied.

                                    CONCLUSION
      The information sought by the subpoena is unquestionably relevant. No

privacy interests are implicated. All the plaintiffs in the Articles voluntarily made

their mesotheliomas public. And producing two documents is no burden at all. A

protective order is therefore not warranted.

      The real issue on this motion is that disclosure of the two documents threatens

to expose the falsity of the Articles relied upon by the PSC’s experts, and the sort of

litigation tactics at play across these cases. That is why the PSC is fighting a battle

to block this basic discovery.



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      This Court should deny Plaintiffs’ Motion for a Protective Order.



Dated: January 31, 2024                            Respectfully submitted,



                                                   _________________
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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                      MDL No. 16–2738 (MAS) (RLS)
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




      DECLARATION OF SUSAN M. SHARKO IN SUPPORT OF
 DEFENDANT JOHNSON & JOHNSON’S SUR-REPLY IN OPPOSITION
     TO PLAINTIFFS’ STEERING COMMITTEE’S MOTION FOR
   PROTECTIVE ORDER REGARDING SUBPOENA DIRECTED AT
                 NORTHWELL HEALTH, INC.


I, Susan M. Sharko, declare as follows:

      I am an attorney of the state of New Jersey and a partner with the law firm

Faegre Drinker Biddle & Reath LLP, counsel for Defendant Johnson & Johnson in

the above-captioned matter. The facts stated in this Declaration are true of my own

personal knowledge. I submit this Declaration in Support of Defendant Johnson &

Johnson’s Sur-Reply To Plaintiffs’ Steering Committee’s Motion For A Protective

Order Regarding The Subpoena Directed At Northwell Health, Inc.
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      1.     Attached hereto as Exhibit 35 is a true and correct copy of an excerpt

of Dr. Gregory Diette’s deposition on June 16, 2023 in Mary Pichierri and Jon

Pichierri v. Avon Products, Inc., et al., No. 20-2681 (Mass. Super. Ct., Middlesex

Cnty.).

      2.     Attached hereto as Exhibit 36 is a true and correct copy of an excerpt

of Plaintiff Harvey Kohr’s complaint in Kohr v. Brenntag North America, Inc., et

al., No. 2016L008842 (Ill. Cir. Ct., Cook Cnty.). Although this complaint was filed

on a public docket without redaction and has since been filed without redaction as

an exhibit to motions filed by both plaintiffs and defendants in courts around the

country, including New Jersey state courts, the complaint has been redacted here

solely to comply with the Court’s Electronic Case Filing Policies and Procedures,

Rule 17.

      3.     Attached hereto as Exhibit 37 is a true and correct copy of an excerpt

of Plaintiff Stephen Lanzo’s complaint in Lanzo v. Cyprus Amax Minerals Co., et

al., No. MID-L-7385-16 AS (N.J. Super. Ct., Middlesex Cnty.). Although this

complaint was filed on a public docket without redaction and has since been filed

without redaction as an exhibit to motions filed by both plaintiffs and defendants in

courts around the country, including New Jersey state courts, the complaint has been

redacted here solely to comply with the Court’s Electronic Case Filing Policies and

Procedures, Rule 17.

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      4.     Attached hereto as Exhibit 38 is a true and correct copy of an excerpt

of Plaintiff Doris Jackson’s complaint in Jackson v. Colgate-Palmolive Co., No.

1:15-cv-01066-TFH (D.D.C. July 7, 2015).

      5.     Attached hereto as Exhibit 39 is a true and correct copy of an excerpt

of Plaintiff Valerie Jo Dalis’ complaint in Dalis v. Brenntag North America, Inc., et

al., No. MID-L-4821-15AS (N.J. Super. Ct., Middlesex Cnty.) Although this

complaint was filed on a public docket without redaction and has since been filed

without redaction as an exhibit to motions filed by both plaintiffs and defendants in

courts around the country, including New Jersey state courts, the complaint has been

redacted here solely to comply with the Court’s Electronic Case Filing Policies and

Procedures, Rule 17.

      6.     Attached hereto as Exhibit 40 is a true and correct copy of an excerpt

of Plaintiff Ricardo Rimondi’s complaint in Rimondi v. BASF Catalysts LLC, et al.,

No. MID-2912-17AS (N.J. Super. Ct., Middlesex Cnty). Although this complaint

was filed on a public docket without redaction and has since been filed without

redaction as an exhibit to motions filed by both plaintiffs and defendants in courts

around the country, including New Jersey state courts, the complaint has been

redacted here solely to comply with the Court’s Electronic Case Filing Policies and

Procedures, Rule 17.




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      7.     Attached hereto as Exhibit 41 is a true and correct copy of a letter from

Plaintiff Brian Joseph Gref on May 1, 2023 in Gref v. Am. Int’l Indus., et al., 20-cv-

05589 (ECF 337).

      8.     Attached hereto as Exhibit 42 is a true and correct copy of the transcript

of the hearing on May 19, 2023 in Gref v. Am. Int’l Indus., et al., 20-cv-05589

(S.D.N.Y. May 19, 2023).

      9.     Attached hereto as Exhibit 43 is a true and correct copy of an Order on

April 8, 2022 in Smith v. Albertsons Companies, et al., No. RG21 101490 (Super.

Ct. Ca., Alameda Cnty.).

      10.    Attached hereto as Exhibit 44 is a true and correct copy of an Order on

January 25, 2024 in Thomas v. Avon Products, Inc. et al., No. 23CV032324 (Super.

Ct. Ca., Alameda Cnty.).

      I certify under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.



Dated: January 31, 2024                       _____________________

                                              Susan M. Sharko




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                    COMMONWEALTH OF MASSACHUSETTS
                                                                      GREGORY B. DIETTE, M.D., MHS
   MIDDLESEX, ss.                 SUPERIOR COURT
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                                                                                By Mr. Hynes                63
   MARY PICHIERRI and JOHN PICHIERRI,      :
             Plaintiffs                    :
   vs.                                     :                          EXHIBIT                                                  PAGE:
                                           :
   AVON PRODUCTS, INC., et al.,            :
             Defendants                    :                          Exhibit 1, Notice of Deposition ......................      5
   _______________________________________:                           Exhibit 2, Testimony List ............................      7
                                                                      Exhibit 3, Fee Schedule ..............................      7
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                         ZOOM DEPOSITION OF:                          Exhibit 5, Report, 5/12/23 ...........................     11
                    GREGORY B. DIETTE, M.D., MHS
                                                                      Exhibit 6, Report, 2/24/23 ...........................     12
            Appearing remotely from Baltimore, Maryland               Exhibit 7, Report, 5/26/23 ...........................     12
                                                                      Exhibit 8, Case Study ................................     26
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                       10:00 a.m. - 11:43 a.m.                        Exhibit 10, MMMWR, 5/13/22 ...........................     32
                                                                      Exhibit 11, Spirtas 1994 Article .....................     52
                                                                      ____________________________________________________________
                                                                      Exhibits digitally marked and returned to counsel with
                Christine E. Borrelli, CSR, RPR, RMR
                                                                      transcript.

                           LEXITAS LEGAL                              ____________________________________________________________
               (508) 478-9795 - (508) 478-0595 (Fax)
                        www.LexitasLegal.com



                                                                 2                                                                     4
   **Counsel, witness, and court reporter appearing remotely**               GREGORY B. DIETTE, M.D., MHS, having first been
   APPEARANCES:
                                                                     identified by the production of a driver's license, was duly
                                                                     sworn by the Notary and testifies as follows:
   ATTORNEYS FOR THE PLAINTIFFS:
      SIMMONS HANLY CONROY, LLC
           112 Madison Avenue                                              DIRECT EXAMINATION BY MR. GEIER:
            New York, NY 10016
      BY:   DENNIS GEIER, ESQ.
                                                                        Q. Good morning, Dr. Diette.
            dgeier@simmonsfirm.com
                                                                        A. Good morning.
   ATTORNEYS FOR ESTÉE LAUDER, INC., and ESTÉE LAUDER COMPANIES,        Q. My name is Dennis Geier. We've been in the same
   INC.:
                                                                     room a couple of times, but I have never had the opportunity
      KING & SPALDING, LLP
            1185 Avenue of Americas - 34th Floor                     to be the one to take your deposition. I am going to take
            New York, NY 10036                                       your deposition today. If you have any questions, if you
      BY:   KEVIN HYNES, ESQ.
                                                                     don't understand something I say, just let me know. I mean,
            khynes@kslaw.com
                                                                     of course, any time you need a break, just speak up. I'd be
   ATTORNEYS FOR COLGATE:                                            happy to do it. Hopefully we won't be too long this morning.
      CAMPBELL, CONROY & O'NEIL, P.C.
                                                                     Okay?
            20 City Square - Suite 300                                   A. Perfect, thank you.
            Boston, MA 02129                                             Q. And I heard you say that you're located in
      BY:   ADAM A. LARSON, ESQ.
            alarson@campbell-trial-lawyers.com
                                                                     Baltimore, Maryland this morning?
                                                                         A. That's right.
                                                                         Q. And so at your home, your office, somewhere else?
   In Attendance:                                                        A. I'm at home.
   Jacob Figueroa, Lexitas monitor                                       Q. Okay. There anyone else in the room with you?
                                                                         A. My wife is in the house elsewhere, but not in this
                                                                     room.
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      Q. And that opinion differs from the Helsinki criteria;           correct?
   is that fair?                                                           A. Well, I do. I think that there are levels that have
          MR. LARSON: Objection to form.                                not been shown to raise the risk, which is a little different.
          MR. HYNES: Okay.                                              It's the converse of whether somebody has demonstrated a safe
          THE WITNESS: So, I don't find the Helsinki criteria           level.
      to be very helpful. But, you know, there is no -- there                    MR. GEIER: I have no further questions. Thank you,
      is no precision to their discussion about what kind of               Dr. Diette.
      dose you're looking for for mesothelioma. And I don't                      MR. HYNES: I have some follow-up.
      think that, like, in each and every f ber hypothesis
       makes sense. So if somebody has got like a little, tiny                   CROSS-EXAMINATION BY MR. HYNES:
       bit of asbestos exposure, that doesn't mean you have to
       point to that and point away from spontaneous. If they               Q. Hi, Dr. Diette. I have one follow-up.
       have a sufficient dose -- and I guess people can disagree            A. Okay.
       what a sufficient dose is -- but if they have a                      Q. Earlier on in today's questioning, counsel for
       significant dose, I think it makes sense to consider that        Mrs. Pichierri asked you several questions about the Moline
       as a cause.                                                      and Emory case series, do you recall that?
       Q. (By Mr. Geier) What do you use or what articles do                A. I do.
   you rely on for the sufficient -- for your sufficient dose               Q. And then following those questions he asked several
   level?                                                               questions regarding medical and scientific studies involving
       A. Yeah, a couple -- I mean, a few different articles.           patients who were human research subjects. Do you recall
   I think if we are talking about, you know, chrysotile                that?
   predominant, you know, I would look at the Pierce articles               A. I do.
   that have shown above 200 to 400 fiber cc years of cumulative            Q. And, in your view, are the Moline and Emory case
   exposure for chrysotile predominant, and that's for a                series articles of the type that fall into that category of
   no-observable-adverse-effect level. And then for the                 medical or scientifically helping patients who are human

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   amph boles, then it would be a smaller dose than that based on       research subjects?
   the potency differences.                                                    MR. GEIER: Object to form.
      Q. And are there articles that you rely on for                           THE WITNESS: Yeah, they're patients for the sake of
   tremolite dose response?                                                the study. They're plaintiffs, right? And I think -- in
      A. The one that I have seen -- there's is a Finley                   my opinion, I think that their protections for
   paper that I think shows a lowest observable effect level of,           confidentiality have already been violated, if it's a
   I think, l ke 15 to 27 f ber cc years.                                  violation, or at least given up voluntarily by filing a
      Q. And what about anthophyllite?                                     case in court. So the information that's in there, in my
      A. Anthophyllite is hard to come by. I have seen some                view, is already potentially public about each and every
   studies that seem to suggest that maybe it doesn't cause                 one of the people there. So I don't know about what,
   cancer, and some that do. But I can't get a good potency                 like, the fact that it's been bundled up into a study of
   difference relative to chrysotile.                                       plaintiffs, you know, make them qualified to have, you
       Q. Dr. Diette, I think I'm done, but if you would just               know, the typical protections.
   bear with me for a minute or two to just scroll through my                   MR. HYNES: Thank you. No further questions.
   notes real quick.
       A. Yeah, of course.                                                        REDIRECT EXAMINATION BY MR. GEIER:
       Q. All right. Just like one or two more questions. We
   spoke a little bit about the EPA earlier. Just as kind of a             Q. Dr. Diette, just to follow up on that. Mesothelioma
   follow-up to that, their current position is there is no safe        cases generally result in litigation; is that your
   level of asbestos exposure; correct?                                 understanding?
       A. I haven't read a document that says that in a while,                MR. LARSON: Objection.
   but I think -- I mean, generally I have seen statements like               THE WITNESS: I am the wrong person to ask, I think,
   that, that there is no known safe level.                                but, I mean, I have certainly seen, you know, multiple
       Q. And based on what you just told me about, the Pierce             cases that are part of litigation.
   and the Finley article, you disagree with that opinion;                 Q. (By Mr. Geier) Well, you gave an opinion that
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   because they filed a case they waived their protected rights,     diagnosis and their exposure circumstances are out there, they
   and that's a legal opinion; correct?                              are out there.
      A. It's not.                                                      Q. There is no difference to you being in a published
           MR. LARSON: Objection.                                    medical journal versus being in a court?
           THE WITNESS: It's not a legal opinion. It's my               A. Not in this case. I mean, if it hadn't gone to
      opinion as a researcher, as a researcher who conducts          court, in my opinion as a researcher, right -- not a legal
      human subject research, and understanding what the             opinion, but my opinion as a researcher, that there is no
      protections are for confidentiality and what it would          longer any confidentiality to protect, at least for the topic
      means is if you already put that information out in the        of what's in that paper.
       public, there is nothing to protect.                              Q. So would that be the case for the Roggli
       Q. (By Mr. Geier) Well, internal review boards review         medical/legal articles as well?
    these types of articles and have opinions; correct?                  A. Well, I don't know. I mean, I'd have to go back and
       A. In the Moline papers, they did. I don't know if I          look at those articles, but I don't know that those
    saw a statement in the other paper about an IRB.                 participants need to have protections either. I don't know if
       Q. And do you believe it's your opinion that can trump        there's any issues there or not.
    what the IRB's opinion is regarding it being human research?        Q. Did you review Dr. Moline's article to see if there
            MR. LARSON: Objection.                                   is any information that is not part of the case in it?
            MR. HYNES: Form.                                                   MR. LARSON: Objection.
            THE WITNESS: I mean, I don't have to agree with an                 THE WITNESS: Well, I think unless she is willing to
       IRB. I mean, it's part of the process of doing research,          reveal who they are, which I think would be a fair thing
       right, which is that there's a back-and-forth in general.         to do, I think it would be hard to do that other than to
       It's not -- you know, they are not dictators and, you             try to cross-check, you know, certain cases that look
       know, they have some sets of rules that they use, but it          similar. But I think, you know, until she is forthcoming
       doesn't mean that they have applied them correctly. And           about who the participants are, then I think it's hard to
       I don't know in this case, like, you know, what IRB's             do.

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       opinions were, but I'm just saying in general, I                  Q. (By Mr. Geier) Do you understand that it's her
       certainly wouldn't be bound to agree with what they said.     position that she can't be forthcoming about who the
       Q. (By Mr. Geier) Well, you just testified that you           participants are?
   disagree with them, so like --                                        A. I have seen her testify to that.
           MR. HYNES: Objection. That a misstatement of the              Q. And she's given a rationale for that; right?
       testimony.                                                        A. She's given her rationale. I don't happen to agree
           MR. LARSON: Objection.                                    with it. I think that -- well, I just don't agree with her.
           THE WITNESS: Yeah, I didn't say I disagree with               Q. And the reason why you don't agree with it is
       them because I don't know what the IRB's opinions are.        because they were plaintiffs in litigation?
        If we're talking about the Moline papers, I just know             A. Because --
        that there was a sentence in there stating they had gone              MR. LARSON: Objection.
        through review, but I have no idea what their opinions                THE WITNESS: -- they are in litigation, because
        are.                                                              she's regurgitating her own opinions that she expressed
        Q. (By Mr. Geier) Well, what is the basis of your                 in court in this paper and asking people to believe that
    opinion, if it's not a legal opinion, that by the plaintiffs          the information in there is correct, and she doesn't
    putting forward their medical diagnosis in court makes it that        appear willing to let people cross-check that and see
    their privilege in published medical literature is waived?            whether it was correct or not.
        A. Yeah, so privilege sounds like a legal term. I'm               Q. (By Mr. Geier) Well, we just -- I'm sorry. I
    just saying there is no confidentiality to protect at that        didn't mean to cut you off.
    point. I mean, there may be. If there's other information in          A. No. I'm just saying, like, if the proposition here
    the paper that's got nothing to do with the court case, for       is that no one believed in all 33 cases that there was any
    example, then I wouldn't say it's absolute, right? I wouldn't     alternative exposure, then I think it would be fair to prove
    say that, you know, it would be okay to talk about somebody's     that, right? And to look at least at what is available in the
    gallbladder disease if it wasn't part of the case. But I          legal records, not go digging around in some additional
    think once their date of birth and their name and their           medical records, look at what is available in the legal cases
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   so people can determine if that's a true thing or not. And                             CERTIFICATE OF COURT REPORTER

   then if it's true that there's people who have had radiation
                                                                                   I, Christine E. Borrelli, Registered Merit Reporter
   therapy, for example, to allow people to see whether somebody
                                                                        and Certified Court Reporter, a Notary Public, in and for the
   had some other exposure that wasn't even asbestos that may
                                                                        Commonwealth of Massachusetts, do certify that the deposition
   have been causative of the mesothelioma.                             of GREGORY B. DIETTE, M.D., MHS, taken on Friday, June 16,
      Q. But using your example of radiation, if someone had            2023, was stenographically reported by me; that the witness
   radiation exposure and it wasn't part of the case, wouldn't          provided satisfactory evidence of identification as prescribed
   that undercut your position that it waived --                        by Executive Order 455(03-13) issued by the Governor of the

      A. No. I think very specifically the information that             Commonwealth of Massachusetts, before being sworn by me,

   is part of the case is what should be available, not all             pursuant to Superior Judicial Order 144; that the transcript
                                                                        produced by me is a true and accurate record of the
   information under all circumstances. So if it is known
                                                                        proceedings; that I am neither counsel for, related to, nor
   through the medical records in one of these cases that the
                                                                        employed by any of the parties to the above action; and
   person had therapeutic radiation and if it's of a type and a
                                                                        further that I am not a relative or employee of any attorney
   dose that could cause mesothelioma, I think that ought to be         or counsel employed by the parties thereto, nor financially or
   in the paper and that people ought to be able to see that.           otherwise interested in the outcome of the action.
      Q. How does that impact your opinion regarding the 2023
   article where there are mixed-use cases?
      A. It does because I still think we don't know what --                                             _____________________________
                                                                                                         Christine E. Borrelli
   the people that she has said didn't have mixed use, we don't
                                                                                                         Notary Public
   have what the information is about those other people either.
                                                                                                         MA CSR No. 102893
      Q. And it's your position that, you know, HIPAA and the
   other privilege protections don't apply in this circumstance?        My Commission Expires:
          MR. LARSON: Objection.                                        December 28, 2023
          MR. HYNES: Objection.
          THE WITNESS: So HIPAA is a law, and I would leave

                                                                   70                                                                  72
   that to the lawyers to sort out. I'm not a lawyer. But                                  SIGNATURE PAGE/ERRATA SHEET

   in my personal opinion as a researcher, what I said
                                                                        WITNESS:   GREGORY B. DIETTE, M.D., MHS
   already makes sense to me; that the information that is
   already out there in the public domain ought to be
                                                                        CASE:      MARY PICHIERRI, et al. vs. AVON PRODUCTS, INC.,
   available for people who are interested in this paper.                          et al.
       MR. GEIER: Okay. Thank you. I have no more
   questions.                                                           PAGE       LINE              CHANGE OR CORRECTION AND REASON
       MR. HYNES: I think we're done.                                   ______     ______            _______________________________

       COURT REPORTER: Counsel, would anyone like a copy                ______     ______            _______________________________
                                                                        ______     ______            _______________________________
    of this transcript?
                                                                        ______     ______            _______________________________
        MR. HYNES: We will. Whatever our standing order is
                                                                        ______     ______            _______________________________
    for depos in this case.
                                                                        ______     ______            _______________________________
        MR. GEIER: Same for us. And I don't have your                   ______     ______            _______________________________
    email, could you give it to me so that I can give you the           ______     ______            _______________________________
    exhibits?                                                           ______     ______            _______________________________
        MR. LARSON: Same for me, thanks.
                                                                                   I, GREGORY B. DIETTE, M.D., MHS, have read the

       (Deposition concluded at 11:43 a.m.)                             transcript of my deposition taken Friday, June 16, 2023,
                                                                        except for any corrections or changes noted above, I hereby
                                                                        subscribe to the transcript as an accurate record of the
                                                                        statements made by me.
                                                                                   Signed under the pains and penalties of perjury.


                                                                        ________________________________        DATE:_________________
                                                                        Gregory B. Diette, M.D., MHS
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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

                                                                :
Doris Jackson,                                                  :   CIVIL ACTION NO.
4708 Piney Branch Road, N.W.,                                   :
Washington, DC 20011                                            :   JURY TRIAL DEMANDED
                                                                :
                               Plaintiff,                       :
                                                                :
                             vs.                                :
                                                                :
COLGATE-PALMOLIVE COMPANY,                                      :
Serve: Corp. Guarantee & Trust Co.                              :
       1150 Connecticut Ave., NW, Suite 900                     :
       Washington, DC 20036                                     :
                          Defendant.


                                    CIVIL ACTION COMPLAINT
                                      and Demand for Jury Trial


         Plaintiff Doris Jackson sues the above-named Defendant for compensatory and punitive

  damages and alleges as follows:

                                               PARTIES

         1.      Plaintiff Doris Jackson is a citizen and resident of the city of Washington, District of

  Columbia.

         2.      Defendant, COLGATE-PALMOLIVE COMPANY, was and is a company

  incorporated under the laws of the State of Delaware with its principal place of business in New York.

  At all times material hereto, COLGATE-PALMOLIVE COMPANY developed, manufactured,

  marketed, distributed and/or sold asbestos-containing products including, but not limited to, asbestos-

  containing Cashmere Bouquet Talc Powder. COLGATE-PALMOLIVE COMPANY has done and

  does business in Washington, District of Columbia.



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       3.      Plaintiff brings this action for monetary damages as a result of Plaintiff Doris

Jackson contracting an asbestos-related disease. Plaintiff Doris Jackson was diagnosed with

mesothelioma in November 2014.

       4.      Plaintiff Doris Jackson was wrongfully exposed to and inhaled, ingested or

otherwise absorbed asbestos fibers, an inherently dangerous toxic substance, as described below:

       (a)     Plaintiff Doris Jackson used asbestos-containing Cashmere Bouquet Talc Powder

               from the 1950s to the 1990s.

       5.      At all times pertinent hereto, the Defendant acted through its duly authorized

agents, servants and employees, who were then and there acting in the course and scope of their

employment and in furtherance of business of said Defendant.

       6.      At all material times, the Defendant manufactured, distributed, sold, supplied,

and/or otherwise placed into the stream of commerce asbestos-containing products either directly

or indirectly to Plaintiff Doris Jackson or to such other entities so that these products were caused

to be used by Plaintiff Doris Jackson.


                                 JURISDICTION AND VENUE

       7.      This Court has personal jurisdiction over the Defendant because the Defendant is

duly licensed to do business in Washington, District of Columbia, and/or at all material times is or

has been engaged in business in Washington, District of Columbia.

       8.      Pursuant to 28 U.S.C.A. §1391, venue is proper in this judicial district because a

substantial part of the events or omissions occurred in the District of Columbia.

       9.      Further, this Court has jurisdiction over the parties pursuant to 28 U.S.C.A. §1332

because the parties to the suit are completely diverse in that the Defendant is not a citizen of the




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       WHEREFORE, Plaintiff prays for judgment against the Defendant for actual and punitive

damages, lost wages and special damages in an amount to be determined by the trier of fact, in

excess of $75,000.00 plus interest as provided by law and the costs of this action.

       PLAINTIFF REQUESTS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

       This 7th day of July 2015.

                                             BROWN & GOULD, LLP

                                             /s/ Daniel A. Brown
                                             Daniel A. Brown (Bar No. 444772)
                                             Eileen M. O’Brien (Bar No. 483451)
                                             7316 Wisconsin Avenue, Suite 200
                                             Bethesda, MD 20814
                                             Tel: 301-718-4548
                                             dbrown@brownandgould.com
                                             eobrien@brownandgould.com

                                             ATTORNEYS FOR THE PLAINTIFF




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                   Exhibit 41
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From the desk of:
James M. Kramer, Esq.

                                                                                         May 1, 2023
VIA ECF
Hon. Valerie Figueredo
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

        Re.      Gref v. Am. Int’l Indus., et al., 20-cv-05589

Dear Judge Figueredo,

       Plaintiff writes regarding AII’s motion to compel the identities of the subjects of Dr.
Moline’s article “Mesothelioma Associated with the Use of Cosmetic Talc” Journal of
Occupational Medicine, Vol. 62, No. 1, Jan. 2020 (“Moline Article”). Plaintiff has significant
concerns that this issue is creating an inordinate delay in the trial of a living mesothelioma case.
These concerns are exacerbated by fears of either side appealing this Court’s order, no matter Your
Honor’s decision.

         In order to alleviate those concerns, Plaintiff withdraws his experts’ reliance on the Moline
Article in this matter. This resolves the issue before Your Honor because AII’s rationale for
requiring Dr. Moline to produce the information is that “Dr Moline Cannot use her study
offensively as reliance material then refuse to answer questions about it based on alleged
privileges.” Def. Br. at 12. To be clear, neither Dr. Moline nor any of Mr. Gref’s experts will use
this article offensively in this matter. The mootness of the issue is further underscored by Mr.
Thackston asking me whether I would “stipulate that none of his experts will mention [the article]”
at oral argument regarding the subpoena of Dr. Emory in this matter in the Eastern District of
Virginia. (Relevant Portions from Transcript Peninsula Pathology Associates v. American
International Inc., 4:22mcl at 20:13-17 attached as Exhibit “A”). Since Plaintiff is withdrawing
reliance on the article, there can be no argument that the identity of the subjects of the Moline
Article are relevant in Mr. Gref’s lawsuit.

        Additionally, Plaintiff agrees to produce Dr. Moline for a limited, three-hour deposition on
her dose calculations as well as on any relevant literature she has authored and intends to rely on
since she was last deposed.1


1
  Defendants’ initial request to further depose Dr. Moline rested on their belief that they did not receive ample
opportunity to explore Dr. Moline’s opinions regarding the doses of asbestos Plaintiff’s exposure would have exposed
him to via Defendants’ talc products. With the issue of the identities of the human subjects now mooted, these
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       Because there is no longer a dispute before the Court regarding the Moline Article or the
continuation of Dr. Moline’s deposition, Plaintiff respectfully requests that AII’s motion to
continue the deposition of Dr. Moline and its motion to enforce the subpoena be denied as moot.
We thank the Court for its time and energy in hearing this issue.


                                                                         Respectfully yours,



                                                                          James M. Kramer



cc:     All Counsel of Record (via ECF)




calculations, along with any other reliance information Dr. Moline has accumulated, are now the only relevant topics
to be explored.
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


           BRIAN JOSEPH GREF,                     : Docket #20-cv-05589

                                  Plaintiff,      :

                 -against-                        :

           AMERICAN INTERNATIONAL
           INDUSTRIES, et al,                     : New York, New York
                                                    May 19, 2023

                                  Defendants.

           --------------------------------:

                              PROCEEDINGS BEFORE
                       THE HONORABLE VALERIE FIGUEREDO
                        UNITED STATES MAGISTRATE JUDGE



           APPEARANCES:

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                                                         Re-             Re-
           Witness            Direct       Cross         Direct          Cross
           None



                                 E X H I B I T S

           Exhibit                                                     Voir
           Number       Description                      ID      In    Dire
           None
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      1                THE COURT:     Hi, everyone.     This is Brian

      2    Joseph Gref v. American International Industries,

      3    20-cv-5589.       Just because of the number of people on

      4    the call, I'm just going to limit.           If counsel who,

      5    I guess, intend to speak can introduce themselves.

      6    So I'm going to start off with counsel for the

      7    plaintiffs.

      8                I understand Mr. Kramer is on the line; is

      9    that correct?

     10                MR. KRAMER:     That is correct, Your Honor.

     11    Good afternoon.

     12                THE COURT:     Good afternoon.      And then for

     13    Northwell Health, I understand Mr. Nathan Huff is on

     14    the line.

     15                MR. HUFF:     Good afternoon, Your Honor.

     16    That's correct.

     17                THE COURT:     Okay.   And then for American

     18    International Industries, Mr. Sargente, will you be

     19    speaking or is there someone else that should be

     20    identified?

     21                MR. SARGENTE:     I believe one of the other

     22    attorneys for AII will be primarily the speaker.

     23                THE COURT:     And could either or both of

     24    those attorneys just identify yourself, please.

     25                MR. SCHONERT:     Hi, Your Honor.          This is
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      1    Neil Schonert with Lathrop, and Kurt Greve is on the

      2    line as well.

      3               THE COURT:     Okay.     Based on our prior

      4    conferences, I think those were generally the three

      5    entities that engaged in the discussion.               If there's

      6    anyone else who at any other point wants to chime

      7    in, you're more than welcome to do so.             I just ask

      8    that you identify, make an appearance right now.                So

      9    if there's anyone else who wants to make an

     10    appearance.

     11               MR. MARINO:     Good afternoon, Your Honor.

     12    Kevin Marino, Marino, Tortorella & Boyle, for

     13    Dr. Moline.       I don't know if I'll be called on to

     14    speak, but I wanted you to know I'm on the line.

     15               THE COURT:     Oh, yes, I'm sorry, Mr. Marino,

     16    that I missed you, but I do recall from the prior

     17    conferences.       Thank you.

     18               Okay.     So this is really intended to be a

     19    very short conference.          I think the reason I asked

     20    for the parties to get on this, I just wanted to get

     21    on the record and just really get crystal clear what

     22    plaintiffs mean when they say in their letter from

     23    May 1st at ECF 337 that they're withdrawing

     24    Dr. Moline's reliance on the Moline article.

     25               And so, Mr. Kramer, if you just want to
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      1    explain what you mean when you say that, I'd like to

      2    just get that on the record.

      3                MR. KRAMER:   Certainly, Your Honor.          And I

      4    think to get this as crystal clear as I possibly

      5    can, and keeping in mind Your Honor's willingness to

      6    keep this brief, the record and Your Honor may

      7    benefit from just a history of how we got here.               And

      8    just to remind the Court of who this case is about,

      9    I represent Brian Gref, who's currently 40 years

     10    old.     He was diagnosed with a fatal cancer,

     11    mesothelioma, back in November of 2019.

     12                We filed this case in a New York City

     13    asbestos litigation in July of 2020.           It was removed

     14    by Johnson & Johnson to the Southern District on

     15    July 20th, 2020, after which all discovery took

     16    place.     And as Your Honor is acutely aware, we are

     17    now in our sixth month of litigating the issue of

     18    the subpoena to reveal the identity of the

     19    confidential human subjects at the heart of

     20    Dr. Moline's 2020 article.

     21                As Your Honor is also aware, back in

     22    November, before this issue came to light, I and

     23    others from my office had met and conferred with

     24    defendants in this case to discuss issues

     25    surrounding any possible continuation of
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      1    Dr. Moline's deposition, which had already gone

      2    seven and a half hours as of last fall.                At that

      3    point, we had come to an understanding that any

      4    continuation would be on her dose calculations,

      5    which she began to testify about in her deposition.

      6               It was only after that meet and confer

      7    where we were surprised with AII's application to

      8    reveal the identity of the article, which is not

      9    something that was met and conferred about, not

     10    something that was discussed, and yet became now the

     11    central issue of six months of discovery litigation.

     12               Now, we made the determination after we

     13    appeared before Your Honor to discuss this issue

     14    further a month or so ago that our duty to our

     15    client, who is dying from a fatal cancer, needs to

     16    go forward.       We, therefore, on May 3rd, wrote to

     17    Your Honor in our letter stating that because this

     18    particular article is merely one of many, many

     19    articles in the medical and scientific literature

     20    connecting not only asbestos to this cancer, but low

     21    levels of asbestos to the cancer, it is among

     22    articles discussing fiber levels released by

     23    asbestos in cosmetic talc in which Dr. Moline had no

     24    hand in writing or researching.

     25               And with that in mind and considering the
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      1    statement made on November 2020 made by AII in

      2    Docket Number 263, its initial motion to compel on

      3    page five, wherein they state that Dr. Moline is

      4    entitled to keep this information confidential

      5    should she decide not to testify about the article

      6    or the cases therein upon direct examination, we

      7    decided to take AII at its word, and we are

      8    withdrawing Dr. Moline's reliance on this particular

      9    article.    We are withdrawing the minimal reliance,

     10    as stated in our other experts' reports on this

     11    particular article.

     12               And we do not intend to address them on

     13    direct examination with any of our experts.              We do

     14    not intend to have Dr. Moline discuss the cases on

     15    direct examination.      Which thereby, according to, I

     16    think, AII's own reasoning, moots the entire issue.

     17    We can move forward with discovery and get a trial

     18    date for this living plaintiff.

     19               So that's where we are, Your Honor.            And,

     20    as you may have seen, we filed last night a motion

     21    for discovery sanctions against AII because -- and

     22    we were not parties to the Bell litigation.              Your

     23    Honor is aware that this entire issue stems from a

     24    false premise based on a false narrative that there

     25    is any connection between a so-called allegation of
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      1    asbestos at Ms. Bell's workplace and her

      2    mesothelioma, which has led us down this wild goose

      3    chase for six months.

      4               It has now been uncovered through discovery

      5    in other cases that the entire premise of that has

      6    been false.       And there's been an attempt to persuade

      7    this Court to unravel and reveal confidential

      8    information based on nothing.         AII's own experts

      9    agree, after reviewing the same exact information as

     10    Dr. Moline did in the Bell case, that there was

     11    nothing to connect Ms. Bell to any occupational

     12    exposure there, therefore no controversy --

     13               MR. GREVE:     Excuse me, Mr. Kramer --

     14               MR. KRAMER:     I'm still speaking.

     15               MR. GREVE:     Your Honor, would you like me

     16    to object now before he is done?

     17               MR. KRAMER:     No, no, no.

     18               MR. GREVE:     I mean, I'm just -- we're

     19    talking now about a motion that's not properly

     20    before the Court for this hearing.           It was filed

     21    last night.

     22               MR. KRAMER:     No, I think -- I'm still

     23    talking.

     24               MR. GREVE:     I think Mr. Kramer understands

     25    that the level of misrepresentations here are quite
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      1    extreme.

      2               MR. KRAMER:     Well, we look forward to the

      3    full argument on that.       I only raise it now, Your

      4    Honor, because --

      5               MR. GREVE:     To summarize --

      6               MR. KRAMER:     Wait a minute, wait a minute.

      7    Your Honor, Your Honor --

      8               MR. HUFF:     I don't understand why he's

      9    still speaking over Mr. Kramer.         I don't understand

     10    it.

     11               THE COURT:     So I'm just going to chime in a

     12    minute.    To just interrupt, I really don't want to

     13    spend any more of your time or my time on this.               And

     14    the reason for the conference was really to get on

     15    the record exactly what Mr. Kramer meant by he was

     16    going to withdraw his reliance.

     17               Mr. Kramer, I just want to confirm, because

     18    I'm familiar with Dr. Moline's expert report and I

     19    know she cites to the article.         Despite the

     20    citation, there won't be any direct -- she cites to

     21    it, I believe, in a footnote.

     22               But despite the citation, you don't intend

     23    to have her discuss it in any way; is that correct?

     24               MR. KRAMER:     That is correct.       And we have

     25    offered -- I'm sorry, Your Honor.
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      1                THE COURT:    No, no, go ahead.

      2                MR. KRAMER:    I was saying, and we're

      3    offering her to get to the heart -- to get back to

      4    what was initially the request to continue her

      5    deposition, we feel that it's fair to offer three

      6    hours to further explore the dose calculations that

      7    she discussed.     And, as we also mentioned, because

      8    now we are six months beyond where we had expected

      9    to be in this case, she has authored other articles

     10    or one other article in particular.            We feel that is

     11    fair game.     We would amend her expert disclosure to

     12    include reliance on that as well.

     13                THE COURT:    Reliance on a different

     14    article?

     15                MR. KRAMER:    Correct.

     16                THE COURT:    Okay.   And then you had also

     17    briefly stated that you had other experts that also

     18    relied on this 2020 Dr. Moline article; is that

     19    true?

     20                MR. KRAMER:    That is true.

     21    Dr. Finkelstein --

     22                THE COURT:    Then on the -- no, go ahead.

     23    Go ahead.

     24                MR. KRAMER:    Dr. Finkelstein references the

     25    article very minimally in his report.             He has
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      1    already been deposed in this case.           He will not rely

      2    upon the article on direct.          And Dr. Zhang, who is

      3    our pathologist, who really will only be talking

      4    about diagnosis in this case, will not be relying

      5    upon it.    We were not going to ask him about it on

      6    direct, either.

      7               THE COURT:    Okay.   So just to keep this

      8    moving along, everyone's aware, you know, the party

      9    issuing the subpoena has to demonstrate that there's

     10    the information -- on a motion to quash, I'm sorry,

     11    the defendants bear the burden of demonstrating that

     12    the information sought is relevant and material to

     13    the claims of the case.

     14               I'm not going to give you a written

     15    decision because it's pretty clear, given

     16    Mr. Kramer's statements on the record, that they're

     17    not at all using or relying on Dr. Moline's 2020

     18    article, that there just isn't a basis to conclude

     19    that the article is relevant.          And for the reasons

     20    we've discussed at length at two conferences, the

     21    burden on Northwell Health here, there's no way

     22    defendants can overcome the showing of burden if

     23    there's no relevance hook.       And if Dr. Moline is not

     24    relying on her article, there is no relevance hook.

     25               MR. GREVE:    Your Honor, counsel for AII.
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      1               May I be heard on that?

      2               THE COURT:    Sure.

      3               Is this Mr. Greve?

      4               MR. GREVE:    Yes, Your Honor.        And let me

      5    make sure I understand -- if I understood the Court

      6    correctly.

      7               Is the Court of the opinion at this moment

      8    in time that the issue is moot because Mr. Kramer

      9    has expressed his disclaimer of the Moline 2020

     10    article in any form or fashion?         Did I understand

     11    that correctly?

     12               THE COURT:    Yeah.   I mean, it's more than

     13    just mootness; right?      Under the analysis, we look

     14    at the burden on Northwell Health and the relevancy

     15    of the information.      You know, at one point

     16    previously, I think from the prior two conferences,

     17    I might have alluded to the belief that I thought it

     18    was relevant because this was -- you know,

     19    Dr. Moline is the causation expert, and this was one

     20    of the articles she was relying on to show the

     21    causal link between the mesothelioma and the

     22    exposure to cosmetic talcum powder.

     23               If she's no longer relying on this article

     24    in any way, which, from Mr. Kramer's assertions,

     25    that's what it sounds like or that's what it's being
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      1    represented to be on the record, then there's no

      2    longer a basis for defendants to claim the

      3    information is relevant.       And we're not just talking

      4    about any information.       Again, we're talking about

      5    HIPAA-protected information, information that's

      6    protected under the common rule.

      7               And for the many reasons Northwell Health

      8    has outlined in their letter, it would be burden --

      9    unduly burdensome for them to produce that

     10    information.      Now, if the information had been

     11    relevant, I think there's arguments to be made that

     12    the calculation is different.        But right now, if

     13    they're not relying on the article in any way,

     14    there's no relevancy hook.

     15               MR. GREVE:    And, Your Honor, if I can

     16    address them not relying on it in any way, again,

     17    like we've seen before, they say this, but then what

     18    does that really mean?       The Moline 2023 article, the

     19    new article that they would like to supplement and

     20    make part of the Gref case, incorporates by

     21    reference the Moline 2020 article.          It is a

     22    continuation of that work.

     23               So the representation that there's nothing

     24    in any way that would connect what's going to happen

     25    in the future to the 2020 article that was subject
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      1    to the subpoena is absolutely false.             It will be

      2    part of it.       And, Your Honor, when plaintiffs make

      3    the statement that, oh, we won't use this on direct

      4    or we won't use this affirmatively, well, they can

      5    still talk.

      6               The ultimate opinion that Dr. Moline has

      7    that she wants to express is that the cosmetic talc

      8    is a cause of pleural or peritoneal mesothelioma.

      9    That's the ultimate opinion.           And she can mention

     10    this without even mentioning the article name.                  But

     11    you can't unring this bell.           This is the foundation

     12    of her opinion, and it starts with Moline 2020,

     13    which is then incorporated into the new article,

     14    Moline 2023.

     15               And while plaintiffs have made some

     16    affirmatives that there may be 500-some-odd

     17    referenced articles, as you illustrate or as you

     18    asked Mr. Kramer or one of the attorneys on the

     19    other side in the last hearing, it ultimately boils

     20    down to Emery and Moline for the proposition of any

     21    type of cosmetic talc being associated with

     22    mesothelioma.       And they need this article.          They

     23    need this bridge because they don't have any

     24    large-scale, peer-reviewed scientific

     25    epidemiological studies to support their position.
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      1                In fact, that information proves the

      2    opposite.     Miners and millers who milled this stuff

      3    and mined this stuff didn't get mesothelioma.              And

      4    that's why this article was created to begin with.

      5    And so if we were just looking at the cross

      6    examination aspect of this, it's not as simple to

      7    say, oh, well, she's not going to rely on it.              It's

      8    part of her foundational opinion.          It's actually

      9    referenced in this new article.

     10                And then when we cross over to the next

     11    level of when we challenge this expert in a Daubert

     12    process, the underpinning the foundation of her

     13    initial opinion is always going to be at issue here.

     14    And the fact that one of Moline's 33 has been

     15    established to be suspect, you know, for lack of a

     16    better word, but definitely there is significant

     17    evidence of alternate exposure that should have been

     18    considered by Dr. Moline.       Okay?

     19                At the very least, she should have

     20    recognized it.     She should have considered it.            And

     21    so that goes to her methodology.          And that was

     22    something that was talked about extensively in the

     23    Bell opinion, that when we were dealing with the

     24    expert challenge here, her foundation, how she came

     25    to this conclusion, her methodology, all of this is
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      1    going to be significant.       This goes to Dr. Moline's

      2    bias, and it goes to her credibility.

      3               And their withdrawal of the "we won't

      4    mention this on direct" is illusory.           This topic is

      5    going to come up.      And despite Mr. Kramer's

      6    representations that they weren't going to use this

      7    in any form or fashion, it is being used in a form

      8    and fashion.      It's directly referenced in the new

      9    article that he wants to insert into this exact

     10    matter at this late point in time, an article that

     11    has the exact same problems as Moline 2020.

     12               We haven't asked any of their experts about

     13    Moline 2023 and that article.        We haven't talked to

     14    anyone about that.      And the discovery that will

     15    ensue and will result from us trying to understand

     16    the provenance, the history, the foundation for the

     17    Moline 2023 hearing, that's going to take an

     18    extensive amount of time.

     19               And so as plaintiffs are just saying,

     20    "Judge, we just want to substitute in this other

     21    article; it's really no big deal," it's a huge deal.

     22    And the substitution, as I mentioned before, even

     23    references the 2021 that they're trying to disclaim

     24    reliance on.      It makes no sense.      And it's just not

     25    something that will be manageable at trial because
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      1    there will always be a way for them to get this

      2    information in.     And at the same time, they will

      3    have run out the clock in terms of any discovery

      4    that can be done on this that would reveal the true

      5    nature and potential bias of the foundation of

      6    these, quote/unquote, test subjects.

      7               THE COURT:    Either Mr. Marino or

      8    Mr. Kramer, this 2023 article, is it a different

      9    scientific study with different individuals?

     10               MR. KRAMER:    It has different individuals

     11    incorporated within it.

     12               Just to frame this correctly, Your Honor --

     13    this is Mr. Kramer.      The original article dealt with

     14    33 patients of which none of them had any known

     15    exposures to asbestos.       The new article actually

     16    addresses the very issue that defendants claim they

     17    were so interested in because it identifies

     18    individuals with both cosmetic talc exposure and

     19    other exposures to asbestos-containing products and

     20    comes to the same conclusion.

     21               So I'm not sure exactly how this would blow

     22    open all sorts of credibility issues and issues of

     23    discovery.    But, briefly, Your Honor, just to reset

     24    the table here of what we're actually here to

     25    discuss, we're not here to discuss Daubert.              We're
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      1    not here to discuss motions for summary judgment.

      2    And, respectfully, Your Honor, you're not here to

      3    discuss what may happen at the trial after motions

      4    in limine or when the trial judge decides how

      5    information can be used.

      6               We're here on a discovery issue and we've

      7    now, I think as Your Honor has already alluded to,

      8    given adequate representation such that the

      9    relevancy issue is now completely obliterated.

     10    Should AII or others wish to raise something about

     11    this issue in a Daubert challenge, they're more than

     12    free to.    In fact, they could use this affirmation

     13    however they want in a Daubert motion.            So they can

     14    still do whatever they plan to do regarding

     15    foundation.

     16               That has nothing to do with whether or not

     17    this article should now still be used despite their

     18    representations that, even if we withdrew it, that

     19    would nullify the issue.       As to credibility, again,

     20    there is a disclaimer in every single article on

     21    this subject where Dr. Moline tells the world, the

     22    publishing world, exactly where she got the

     23    information.      So credibility is something that can

     24    still be explored on the stand.

     25               And as to whether this topic is going to
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      1    come up, well, it's not going to be coming up

      2    through us.       If they choose to somehow insert this,

      3    then -- you know, and the door is open, that's on

      4    them.   But we have made our affirmation.              We have

      5    made our representation to Your Honor.             It's now on

      6    the record, and we intend to obviously abide by it

      7    in any directive that either Your Honor or the trial

      8    judge may give.

      9                THE COURT:    Okay.   So I think, Mr. Kramer,

     10    I agree, the reliability of Dr. Moline's methodology

     11    or her credibility in terms of any scientific method

     12    she used for this 2020 article is certainly

     13    something that is explored at a Daubert motion or

     14    hearing, not here.

     15                So, again, for the reasons I've already

     16    indicated, I'm going to grant Northwell Health's

     17    motion to quash or to modify the subpoenas because I

     18    believe they were willing to comply with some

     19    aspects of it.       I will enter an order indicating

     20    that.   But the reasoning will be the reasons I gave

     21    on the record just now.

     22                MR. GREVE:    Your Honor, if I may ask one

     23    question.     I understand the Court's ruling, but on

     24    the issue of mootness, if an underlying dispute

     25    between two parties is capable of repetition yet
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      1    evading review, would that mean it's not moot?

      2               THE COURT:    So, just to be clear, I'm not

      3    finding that it's moot.       I'm finding that defendants

      4    have not established that the information they seek

      5    is relevant to their claims here now, and that given

      6    the very minimal relevance we're talking about,

      7    which is basically that the 2020 article is somehow

      8    incorporated into a new article involving new

      9    individuals that she published in 2023, and given

     10    Mr. Kramer's indications that the 2020 article will

     11    not be used offensively in any way by plaintiffs.

     12               Again, because defendants haven't shown

     13    that the information they're seeking is relevant to

     14    their claims, and Northwell Health has made an ample

     15    showing that it will be unduly burdensome for them

     16    to disclose the identities of these individuals.               So

     17    that's the basis of my reasoning that the undue

     18    burden on Northwell outweighs any potential

     19    relevancy here.     It's not mootness.

     20               MR. GREVE:    Okay.   I understand,

     21    Your Honor.

     22               And then one last point of clarification.

     23    So if discovery was allowed and the remaining 32

     24    individuals were also identified and also determined

     25    to have alternate exposures to asbestos that were
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      1    not disclosed by Dr. Moline, similar to that of

      2    Mrs. Bell, that would not be relevant or sufficient

      3    enough relevance to garner that type of discovery.

      4                Do I understand that correctly?

      5                MR. KRAMER:    Your Honor, I think this is

      6    now going into an advisory opinion based on a

      7    hypothetical that, frankly, I don't even understand.

      8    I don't think it's even appropriate to ask the Court

      9    that.

     10                MR. GREVE:    Well, let me see if I can -- my

     11    question, Your Honor, is:         We're saying that there

     12    hasn't been an establishment of this being relevant

     13    in light of Northwell's concerns and plaintiff's

     14    concerns.     And ultimately, what we're trying to find

     15    out is if Dr. Moline made material

     16    misrepresentations of fact regarding alternate

     17    exposure to known asbestos for the other 32

     18    individuals, similar to what was done in the Bell

     19    instance.

     20                Is it the Court's opinion that that

     21    information is not something that a defendant would

     22    be entitled to, nor would it have any significance

     23    in terms of carrying its burden on this motion?

     24                THE COURT:    No.    I mean, I don't think I'm

     25    at all suggesting that.         I'm saying that within the
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      1    context of the information you seek for the 2020

      2    article, the basis for the relevancy determination

      3    was that she was relying on the 2020 article in her

      4    expert opinion and she was using it affirmatively to

      5    establish that causation nexus.

      6               But if they're no longer relying on it,

      7    that's the reason it's no longer relevant, the

      8    reason you've no longer shown that it's relevant to

      9    the claims here.       Your issue about the material

     10    misrepresentations, that's certainly something you

     11    could bring up on a Daubert challenge completely

     12    unrelated to whether she's relying or using the 2020

     13    article.

     14               MR. GREVE:     And, Your Honor, one thing, as

     15    the new article has been interjected, I think there

     16    was a representation that Mr. Gref was not part of

     17    the 2020 Moline article.

     18               Is there any representation that

     19    Plaintiff Gref is not included in the new Moline

     20    2023 article?

     21               MR. HUFF:     Your Honor, this is Nate Huff

     22    for Northwell.      At the appropriate time, I had a

     23    clarification I just wanted to make before you issue

     24    your ruling.      So whenever you're ready to hear from

     25    us on that, we're happy to proceed.
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      1                THE COURT:    Well, Mr. Huff, I don't know if

      2    now is a good time.       Feel free to chime in.

      3                MR. HUFF:    Sure.

      4                So there have also been -- in the course of

      5    the various briefing on our motion to modify, there

      6    had also been a pair of cross motions to compel that

      7    basically and entirely incorporated by reference all

      8    of the same arguments.       In other words, they weren't

      9    raising new grounds.       It was just an alternate, a

     10    repackaging of the same arguments.          And so we just

     11    flag that for you in case it's also your intent to

     12    simultaneously deny those cross motions to compel.

     13                And then you had also noted that there were

     14    some aspects of the subpoenas to which Northwell was

     15    willing to comply -- or with which Northwell was

     16    willing to comply.       We just wanted to note for the

     17    record that, with regard to those aspects, we have

     18    made a document production already back at the

     19    outset.     And so with the Court's ruling, we would

     20    view our role in responding to the subpoenas to be

     21    complete.

     22                THE COURT:    Okay.   Mr. Huff, thanks for the

     23    clarification.     I found the cross motion to compel

     24    at 281, but the analysis would still be the same.

     25                MR. HUFF:    Yes, Your Honor, we agree with
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      1    that because it's the exact same argument.              It's

      2    just fully incorporated.        We just wanted to flag

      3    that just because those are also hanging out there.

      4                THE COURT:    Yes, I appreciate it.         The

      5    written order will close out all those motions.

      6    And, again, it's for the reasons I've indicated on

      7    the record.       So there won't be a written decision.

      8                MR. HUFF:    Yes, Your Honor.

      9                THE COURT:    Is there anything else from

     10    anyone else?

     11                MR. GREVE:    Yes, Your Honor.        Kurt Greve

     12    with AII.

     13                In terms of the logistics associated with

     14    this order and the introduction of -- I guess, is

     15    the Court going to allow Mr. Kramer to substitute in

     16    additional reliance material, specifically the

     17    Moline 2023 article?       Because if the Court's

     18    inclined not to allow that additional

     19    supplementation, then that would alleviate the need

     20    for going back and redeposing every single expert in

     21    this case on that subject matter.

     22                And, obviously, the amount of time that we

     23    would need to spend with Dr. Moline would be

     24    significant, considering this is a brand new

     25    article.     The provenance is obviously going to come
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      1    into question, the foundations are going to be to

      2    questioned, and we're ultimately going to be

      3    relitigating the exact same issues that we did with

      4    Moline 2020.      Understanding they're now saying

      5    they're not going to use it in any way, that we

      6    would have the same questions for Moline 2023.

      7               So while plaintiff has made some references

      8    to attempting to do that, is the Court inclined to

      9    allow them to supplement their disclosures and their

     10    discovery and allow this new article to come in,

     11    which would basically reset expert discovery in the

     12    entire case?

     13               MR. KRAMER:    Well, Your Honor, I disagree

     14    with that representation -- this is Jim Kramer --

     15    that it would reset discovery in the entire case.

     16    And I also disagree that they would be entitled or

     17    have shown any need or entitlement to any

     18    information in 2023.      But I wanted to insert that

     19    just so that the record is clear.

     20               MR. GREVE:    Well, Your Honor, we definitely

     21    would need to know if Brian Gref is included in the

     22    Moline 2023 article.      That would be extremely

     23    relevant to the Gref case.

     24               THE COURT:    So I'm just going to chime in a

     25    minute because, until this conference, the 2023
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      1    article was never at all discussed by the parties.

      2    So this might be a situation where it would make

      3    sense for the parties to meet and confer and decide

      4    what's going on with the 2023 article before you

      5    want my involvement, particularly because it's an

      6    issue you just raised.

      7               So that's why, Mr. Greve, I can't tell you

      8    either way what my ruling is on the 2023 article

      9    because this is really something that was not at all

     10    within the scope of what we've been talking about

     11    until a few minutes ago.

     12               MR. GREVE:    Understood.

     13               THE COURT:    If there's nothing further,

     14    then the issue of the 2023 article, you can

     15    certainly meet and confer and send us a letter.               I

     16    will say, though, at this point, with the other

     17    motion for sanctions that just got filed, if your

     18    goal is to try to get this case moving along, the

     19    additional motions are only going to slow you down,

     20    for obvious reasons.

     21               Thank you, everyone.

     22               MR. KRAMER:    Understood, Your Honor.          Thank

     23    you.

     24               MR. GREVE:    Thank you, Your Honor.          Have a

     25    good weekend.
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      1                      C E R T I F I C A T E

      2

      3            I, Marissa Mignano, certify that the foregoing

      4    transcript of proceedings in the case of

      5    BRIAN JOSEPH GREF v. AMERICAN INTERNATIONAL

      6    INDUSTRIES, et al., Docket #1:20-cv-05589, was

      7    prepared using digital transcription software and is

      8    a true and accurate record of the proceedings.

      9

     10

     11    Signature     ___________________________

     12                         Marissa Mignano

     13

     14    Date:         May 23, 2023

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      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                   Rene C. Davidson Courthouse



Jill Thomas                                       No.        23CV032324
                Plaintiff/Petitioner(s)
          vs.                                    Date:       01/25/2024
AVON PRODUCTS, INC. et al                        Time:       3:22 PM
                Defendant/Respondent
(s)                                              Dept:       22
                                                 Judge:      Brad Seligman

                                                   ORDER : Defendant Joint MILs



3. (Moline articles): Grant. The issue, as Judge Lee explained in her Smith Order, is not Sanchez,
but whether an expert may reasonably rely on the Moline articles. Here, unlike many academic
articles, the methodology used and the source material reviewed by Moline cannot be determined
and thus there is a serious question as to whether the studies are based upon reliable and rigorous
scientific methods.
4. (Plaintiff life events): Grant as unopposed.



Dated : 01/25/2024




ORDER : Defendant Joint MILs                                                            Page 1 of 1
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                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Rene C. Davidson Courthouse
1225 Fallon Street, Oakland, CA 94612
PLAINTIFF/PETITIONER:
Jill Thomas
DEFENDANT/RESPONDENT:
AVON PRODUCTS, INC. et al
                                                                            CASE NUMBER:
     CERTIFICATE OF ELECTRONIC SERVICE CODE OF CIVIL
                    PROCEDURE 1010.6                                        23CV032324


I, the below named Executive Officer/Clerk of Court of the above-entitled court, do hereby certify that I am
not a party to the cause herein, and that on this date I served one copy of the General Order (Court Order:
Defendant Joint MILs) entered herein upon each party or counsel of record in the above entitled action, by
electronically serving the document(s) from my place of business, in accordance with standard court
practices.




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                                                     Chad Finke, Executive Officer / Clerk of the Court
Dated: 01/26/2024                                     By:




                                    CERTIFICATE OF ELECTRONIC SERVICE
                                      CODE OF CIVIL PROCEDURE 1010.6
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SHORT TITLE: THOMAS vs AVON PRODUCTS, INC., et al.           CASE NUMBER: 23CV032324




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